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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt           POTTER STEWART U.S. COURTHOUSE           Tel. (513) 564-7000
       Clerk                     CINCINNATI, OHIO 45202-3988         www.ca6.uscourts.gov




                                             Filed: April 15, 2020


Mr. Joseph A. Castrodale
Benesch Friedlander
200 Public Square
Suite 2300
Cleveland, OH 44114

Mr. Samir Bradley Dahman
Kohrman, Jackson & Krantz
10 W. Broad Street
Suite 1900
Columbus, OH 43215

Mr. Gregory James Phillips
Benesch Friedlander
200 Public Square
Suite 2300
Cleveland, OH 44114

Ms. Alexis Preskar
Kohrman, Jackson & Krantz
10 W. Broad Street
Suite 1900
Columbus, OH 43215

Mr. Nicholas Joseph Secco
Benesch Friedlander Coplan & Aronoff
333 W Wacker
Suite 1900
Chicago, IL 60606

Mr. James E. Von Der Heydt
Benesch Friedlander
200 Public Square
Suite 2300
Cleveland, OH 44114
Case: 2:17-cv-00612-MHW-KAJ Doc #: 98 Filed: 04/16/20 Page: 2 of 3 PAGEID #: 1231   (2 of 3)




                 Re: Case No. 20-3001, Charles Spielman v. IMG College, et al
                     Originating Case No. : 2:17-cv-00612

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                               Sincerely yours,

                                               s/Connie A. Weiskittel
                                               Mediation Administrator

cc: Mr. Richard W. Nagel

Enclosure

No mandate to issue
Case: 2:17-cv-00612-MHW-KAJ Doc #: 98 Filed: 04/16/20 Page: 3 of 3 PAGEID #: 1232            (3 of 3)



                                         Case No. 20-3001

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



CHARLES C. SPIELMAN , on behalf of himself and all others similarly situated, aka Chris
Spielman

              Plaintiff - Appellant

v.

IMG COLLEGE, LLC; IMG WORLDWIDE, INC.; WME ENTERTAINMENT, collectively
referred to as "IMG", aka WME, dba IMG, dba International Management Group, dba Ohio
State IMG Sports Marketing;

              Defendants - Appellees



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: April 15, 2020
                                                  ___________________________________
